                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  Civil Action No.: 1:21-cv-00814-CCE-LRW

LARISSA HARPER HAIRGROVE,                )
                                         )
       Plaintiff,                        )
                                         )
                    v.                   )
                                         ) AMENDED JOINT RULE 26(f)
CITY OF SALISBURY, DOWNTOWN )                     REPORT
SALISBURY INC., and LANE BAILEY, )
in his individual and official capacity, )
                                         )
      Defendant.                         )
                                         )


1.   Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b), a meeting was held on May

     4, 2022, by telephone, and was attended by the undersigned counsel for

     the parties.

2.   Discovery Plan. The parties propose to the Court the following discovery

     plan:

     a. The “commencement date” of discovery will be July 12, 2022, and the

        date of the initial disclosures shall be made pursuant to Rule 26(a)(1)

        on or before June 12, 2022.

     b. Discovery will be needed on the following subjects:

         i.    For Plaintiff, information about the employment practices of

               Defendants’ along with personnel and time records for all




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                       employees who were similarly situated to Plaintiff;

               ii.     For Defendant City of Salisbury, the allegations in Plaintiff’s

                       complaint and her alleged damages;

              iii.     For Defendant DSI, Plaintiff’s employment history, job duties,

                       hours worked and records thereof, compensation and damages.

         c. The parties believe that this case should be designated as a complex

              case under LR 26.1(a) with the following stipulated modifications:

         d. Discovery should be completed by January 31, 2023.

              i.       Presumptively, subject to stipulation of the parties or order of

                       the Court on good cause shown, interrogatories and requests for

                       production of documents (including subparts) and requests for

                       admission are limited to 25 in number by each party.

              ii.      Depositions are presumptively limited to four (4) depositions

                       (including any experts) by the plaintiffs, by the defendants, and

                       by third-party defendants.

              iii.     Reports required by Rule 26(a)(2)(B) (experts required to provide

                       reports) and disclosures required by Rule 26(a)(2)(C) (experts not

                       required to provide reports) are due during the discovery period:

                                From Plaintiff(s), By September 30, 2022;

                                From Defendant(s), By October 31, 2022.

              iv.      Supplementations will be as provided in Rule 26(e) or as


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                       otherwise ordered by the court.

3.       Mediation. Mediation should be conducted mid-way to late in the

         discovery period, the exact date to be set by the mediator after

         consultation with the parties. The parties agree that the mediator shall

         be Ken Carlson.

4.       Preliminary Deposition Schedule. The parties will agree to a schedule for

         depositions by August 12, 2022.

5.       Other items.

              a. Amendment of Pleadings. Plaintiff should be allowed 30 days after

                  the exchange of initial disclosures (or no later than July 12, 2022)

                  by the parties to request leave to join additional parties or amend

                  pleadings. Defendant(s) should be allowed 15 days after any

                  amendment (or no later than July 27, 2022) of parties or pleadings

                  to request leave to join additional parties or amend pleadings. After

                  these dates, the Court will consider, inter alia, whether the granting

                  of leave would delay trial.

              b. Special Procedures. The parties have discussed special procedures

                  for managing this case, including reference of the case to a

                  Magistrate Judge on consent of the parties under 28 U.S.C. § 636(c)

                  or appointment of a master. The parties have not agreed to refer the

                  case to a Magistrate Judge or to appoint a master.


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              c. Length of Trial. Trial of the action is expected to take approximately

                  two days. A jury trial has been demanded.

              d. Confidentiality/Sealed Documents. The parties discussed whether

                  the case will involve the possibility of confidential or sealed

                  documents. The parties do not believe it will involve confidential or

                  sealed documents.

Date: May 16, 2022

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